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                        IN THE DISTRICT COURT OF THE UNITED STATES
                            FOR THE MIDDLE DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
                   v.                       ) CIVIL ACTION NO.: 2:18-mc-3841-WKW
                                            )
KIRRO ALABAMA LLC,                          )
MONTGOMERY, AL,                             )
                                            )
       Garnishee,                           )
                                            )
GWENDOLYN DAVIS SALERY,                     )
                                            )
       Defendant.                           )



                   UNITED STATES= MOTION TO SUBSTITUTE COUNSEL

       Comes now the Plaintiff, by and through Louis V. Franklin, Sr., United States Attorney for

the Middle District of Alabama, and moves this Court to substitute Assistant United States

Attorney James J. DuBois as counsel of record for the Plaintiff in this matter in place of former

Assistant United States Attorney Jerusha Adams. Ms. Adams is no longer an Assistant United

States Attorney.




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                                             LOUIS V. FRANKLIN, SR.
                                             UNITED STATES ATTORNEY


                                         By: /s/James J. DuBois
                                            JAMES J. DUBOIS
                                            Acting Chief, Civil Division
                                            GA Bar Number: 231445
                                            Attorney for Plaintiff
                                            Post Office Box 197
                                            Montgomery, AL 36101-0197
                                            Telephone No.: (334) 223-7280
                                            Facsimile No.: (334) 223-7418
                                            E-mail: James.DuBois2@usdoj.gov


                                CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2019, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, and mailed, by United States Postal Service, a copy of

same to the following non-CM/ECF participant(s):

        Kirro Alabama LLC
        700 Hyundai Blvd.
        Montgomery, Al 36105

        Gwendolyn Davis Salery
        3800 Butler Court
        Montgomery, Al 36110



                                                        /s/James J. DuBois
                                                      Assistant United States Attorney




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